                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TENNESSEE
                             GREENEVILLE DIVISION


                                          )
  IN RE SOUTHEASTERN MILK                 )
  ANTITRUST LITIGATION                    )   Master File No. 2:08-MD-1000
  ____________________________________)
                                          )   Judge J. Ronnie Greer
  THIS DOCUMENT RELATES TO:               )
                                          )
  Sweetwater Valley Farm, Inc., et al. v. )
  Dean Foods, et al., No. 2:07-CV-208     )
  ____________________________________)



        DAIRY FARMER PLAINTIFFS’ MOTION FOR AN ORDER APPROVING
           AND AUTHORIZING THE DISTRIBUTION OF THE DEAN AND
        SMA/BAIRD SETTLEMENT FUNDS AND APPLICATION FOR CLAIMS
                   ADMINISTRATOR FEES AND EXPENSES




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         Pursuant to Federal Rule of Civil Procedure 23, Plaintiffs respectfully move the Court for

  an order approving and authorizing the distribution of funds from the class action settlements

  with Defendants Dean Foods Co. (“Dean”) Southern Marketing Agency, Inc. (“SMA”) and

  James Baird (“Baird”).

         Rust Consulting (“Rust”) has completed its scrutiny of each of the 7,363 claim forms

  seeking payments from the Dean and SMA/Baird settlements. After extensive analysis and work

  with class counsel and claimants, including 2,235 follow up letters, 4,821 telephone calls and full

  audits of hundreds of claims, Rust has calculated the pro rata payment to each of the claimants

  determined to be eligible to participate in the settlements, and is prepared to distribute the

  settlement funds upon the Court’s authorization to do so.

         Plaintiffs, therefore, request that the Court approve the plan outlined herein for the

  distribution of the Dean and SMA/Baird settlement funds to eligible claimants based on their pro

  rata share of the class-eligible milk volume. The Court should approve the plan as reasonable,

  fair and adequate because it reimburses class members according to their share of injury and

  damages. The sworn claim forms submitted by claimants, as well as Rust’s extensive analysis

  and follow ups with claimants, ensures the distribution will be fair and equitable. And, Rust’s

  supplementary audit further ensures the settlement funds will be equitably distributed.

         Plaintiffs accordingly request entry of the Proposed Order, attached as Exhibit 1, which

  approves the distribution plan and authorizes the following actions by class counsel, Rust and

  JPMorgan Chase Bank (the “Escrow Agent”) to distribute the settlement funds:

         1.      Approve Plaintiffs’ proposal to distribute the Dean and SMA/Baird settlement

  funds to each class member on a pro rata basis as determined by each class member’s reported

  production of class-eligible milk as fair, reasonable and adequate;



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         2.      Approve the claims listed in Exhibit E-3 to the December 20, 2012 Affidavit of

  Charlene Young, attached as Exhibit 2, as eligible, valid and authorized to participate in the

  distribution of the Dean and SMA/Baird settlement funds;

         3.      Approve the claims listed in Exhibits D-1 and D-2 to the Young Affidavit as

  disallowed as invalid, incomplete and/or otherwise ineligible to participate in the distribution of

  the Dean and SMA/Baird settlement funds;

         4.      Authorize Rust to effect the payment and distribution of the Dean and SMA/Baird

  settlement funds directly to the eligible claimants listed in in Exhibit E-3 to the Young Affidavit

  in their pro rata portions based on each claimant’s reported production of class-eligible milk as

  calculated and determined by Rust and specified in Exhibit E-3;

         5.      Authorize class counsel at Baker Hostetler LLP to direct the “Escrow Agent to

  transfer the Net Settlement Amount of $35,458,613.64, which is the total amount in the Dean

  and SMA/Baird settlement funds for the first installment payment with interest, net attorneys’

  fees and expenses approved by the Court and requested herein for Rust as well as $150,000

  previously awarded as incentive payments to the class representatives, to the bank account

  designated by Rust in the escrow agreements to facilitate its distribution of the funds to the

  eligible class members;

         6.      Authorize class counsel at Baker Hostetler LLP to direct the Escrow Agent to

  disburse attorneys’ fees in the amount of $48,333,333 (which will be disbursed over four years

  proportionally with Dean’s payments into the settlement fund) to the bank account designated by

  Baker Hostetler in the escrow agreements to facilitate its distribution of the attorneys’ fees and

  expenses among counsel; and




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         7.      Grant the request to pay Rust $212,634.63 out of the Dean and SMA/Baird

  settlement funds, in addition to the previously-approved $100,000, for services and expenses to

  date in administering the settlements and claims processes as explained in the Young Affidavit.

  I.     BACKGROUND

              A. The Dean and SMA/Baird Settlements

         As the Court is aware, Dean’s settlement requires Dean to pay $140,000,000 into a

  settlement fund over approximately four years. (See 7/14/11 Mot. for Prelim. Approval, Ex. A at

  ¶ 7.1, Dkt. 1603-1.) Dean made an initial payment of $60,000,000 in February 2012, and Dean

  will pay $20,000,000 each of the next four years. (See id.) The SMA/Baird settlement provides

  for payment of $5,000,000 into a settlement fund. (See 7/27/11 Mot. for Prelim. Approval, Ex. A

  at ¶ 7.1, Dkt. 1678-1.) SMA/Baird made that payment in August 2012.

              B. The Approval and Dissemination of Settlement Notices and Claim Forms

         The Court’s Orders preliminarily approving the Dean and SMA/Baird settlements, among

  other things, confirmed the certification of the subclasses for settlement purposes, approved the

  settlement claim forms, appointed Rust as class action and claims administrator, and set May 1,

  2012 as the deadline for receipt of claims forms and requests to opt into the subclasses or opt out

  of the DFA Subclass for purpose of settlement.1 (See, e.g., 2/14/12 Order at ¶¶ 3, 9, 15 and 21.)

         Following the Court’s preliminary approvals, Rust sent settlement notices and claim

  forms to 7,452 potential subclass members, published notice in the March 2012 issue of Hoard’s

  Dairymen, maintained a class notice website with documents and information pertinent to the




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    As explained in Plaintiffs’ July 20, 2012 report, 270 individuals and entities timely sought
  exclusion from the subclasses in connection with the Dean and SMA/Baird settlements. (See
  Dkt. 1900.) These opt outs are identified in the September 13, 2012 Order. (See Dkt. 1902.)

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  settlements, established a toll-free telephone number, and acted as a repository for subclass

  member inquiries and communications. (See Young Aff. at ¶¶ 6-7.)

         The Court held a fairness hearing on May 15, 2012, after the deadline for receipt of claim

  forms or to otherwise respond to the class settlement notice. The Court granted final approval of

  the Dean and SMA/Baird settlements on June 15, 2012. (See Dkt. 1890.)

                     C. The Settlement Claims Administration Process

                         1. Receipt and initial processing of claim forms by Rust

         Rust received and processed 7,363 claim forms. (See Young Aff. at ¶ 17.) Rust input the

  claims information into a database capable of compiling, sorting and analyzing individual and

  aggregate claims data. (See id.) To ensure the accuracy of inputted information, Rust utilized a

  “double blind” system, meaning each claim form’s information was inputted twice by two

  individuals working independently, and any discrepancy in the inputted information triggered

  further review and verification. (See id.)

         Rust reviewed each claim form received to determine whether it was timely, complete

  and valid. (See id. at ¶ 19.) Specifically, Rust reviewed each claim form to confirm it contained

  the name of the claimant, farm address, and the amount of eligible milk claimed and tax

  withholding information, and that it was signed under oath by the claimant. (See id.) Rust also

  analyzed each claim form to confirm whether it was duplicative of another claim filed and/or

  there were multiple claims submitted by the same claimant. (See id.) If Rust identified any claim

  form that appeared to be incomplete, invalid or otherwise deficient, the form was flagged for

  follow-up. (See id.)

                         2. Rust sought additional information from claimants as appropriate

         Between July 10, 2012 and December 17, 2012, Rust sent follow-up letters to claimants



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  who submitted claim forms missing information. (See id. at ¶ 20.) Rust’s letters identified the

  missing information, e.g., farm addresses, amounts of class-eligible milk, tax information and/or

  signatures, and requested that the claimants cure the deficiency. (See id.) The letters explained

  the claims may be disallowed unless the claimants provided the missing information. (See id.)

         Also, between July 10, 2012 and December 17, 2012, Rust mailed follow-up letters to

  claimants who did not appear to be eligible to participate in the settlements. (See id. at ¶ 21.)

  These letters explained the claims do not appear to be eligible because they are duplicative, they

  are for members of the boards of directors of DFA or SMA, or the farms claimed are not in

  Federal Milk Marketing Orders 5 or 7. (See id.) These letters explained claims would be

  disallowed unless the claimants demonstrated their eligibility. (See id.)

         In addition, between July 10, 2012 and August 16, 2012, Rust mailed follow-up letters to

  claimants who appeared to need adjustments made to the amount of eligible milk claimed. (See

  id. at ¶ 22.) These letters explained that certain Virginia counties did not became part of Federal

  Milk Marketing Order 5 until November 2005, and requested confirmation that the claims did

  not include milk produced prior to that month. (See id.) These letters also explained the claims

  may be disallowed unless the claimants confirmed their claims. (See id.)

         For claimants who did not respond to Rust’s follow up letters, Rust sent a second round

  of letters that again explained the deficiency and allowed additional time to cure or respond. (See

  id. at ¶ 25.) Rust also sent a third round of letters that reviewed the deficiency, identified the

  information needed, and explained that Rust would disallow the claims unless the claimants

  cured the identified deficiency prior to the letter’s deadline. (See id. at ¶ 27.) For those Virginia

  claims that appeared to need adjustments, the third letter explained that Rust would reduce the

  amount of class-eligible milk by .569343 unless the claimant responded otherwise by the



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  deadline.2 (See id.)

                          3.   Rust’s supplementary audit of claim forms

           Rust also conducted an audit of the amount of raw Grade A milk stated in the claim

  forms, even though the claims submitted under oath (as here) are ordinarily adequate proof of

  claim (see id. at ¶ 29). Based on its experience with the Dean settlement in Vermont, Rust

  audited every submission that claimed more than 50,000,000/lbs., less than 100,000/lbs., and a

  random selection of 3% of the other claims. (See id. at ¶ 32.) The claim forms selected for audit

  represent 11% of the eligible claims – a rate that is more than double the percentage of claims

  Rust typically audits in antitrust settlements when an audit is conducted. (See id.)

           Between September 34, 2012 and November 15, 2012, Rust required each claimant

  selected for audit to provide “adequate documentation” that the amount of milk claimed was

  produced within Orders 5 or 7 and sold directly or through an agent to Defendants or

  Co‐Conspirators in Orders 5 and/or 7 during the class period. (Id. at ¶¶ 33-34.) The audit letters

  stated that “adequate documentation” consists of “(1) written confirmation from the Milk

  Marketing Administrator (2) written confirmation from your cooperative or milk marketer or (3)

  production records, statements, invoices or checks that support the amount of raw Grade A milk




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      Rust explained the adjustment in the third follow-up letters:
           As explained in the claim form, only milk produced in Federal Milk Order 5
           and/or 7 is eligible to participate in the settlement class. The counties and cities
           that are considered to be in Order 5 changed on November 1, 2005. The farm
           address you provided has been identified as not being in Order 5 prior to this date.
           To account for this, the amount of raw Grade A milk you claimed has been
           adjusted downward by .569343, which represents the portion of time your farm
           was in Order 5 (November 1, 2005 through May 1, 2012) during the period for
           settlement class claims.
  Young Aff. at ¶ 27 and n.1.

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  provided on your Settlement Claim Form.” (Id. at 33.)3

         Rust reviewed each response to the audit letters to verify the amount claimed with the

  documentation submitted. (See id. at ¶ 34.) Rust then mailed a second round of audit letters to

  claimants who had not responded. (See id.) Those letters informed claimants they needed to

  provide adequate documentation for their claim by the deadline, or their claims would be

  disallowed if they did not respond. (See id.)

         Rust’s supplementary audit confirmed the integrity of the claims administration process.

  (See id. at ¶¶ 35-36.) The documentation provided by the randomly-selected claimants varied by

  less than 5% (up or down) from the class-eligible milk volume submitted in the claim forms.

  (See id. at ¶ 36.) This amount of variance is well within the acceptable range, based on Rust’s

  experience, and indicated no reason to conduct further audits. (See id.)

             D. Rust’s Identification of Claimants Eligible for Settlement Payments

         Utilizing the database described above, Rust identified the claimants (and their milk

  volumes) eligible and ineligible for Dean and SMA/Baird settlement payments.

                         1. Eligible claims for settlement payments

         Rust’s review, analysis and audit of claim forms identified 6,165 claims eligible for

  settlement payments. As explained in the Young Affidavit, 5,884 claims were timely, complete

  3
   For Rust’s audit, Plaintiffs asked Defendants to provide certain milk production and sales data.
  DFA and DMS provided nothing. Dean and SMA gave authorizations for the release of data by
  USDA’s administrators for Federal Milk Marketing Orders 5 and 7. NDH provided limited data,
  which Rust considered. (See id. at ¶ 30.)
  Rust also asked USDA’s administrators for Federal Milk Marketing Orders 5 and 7 to provide
  data showing the production of raw Grade A milk by each farm in Orders 5 and 7, and data
  showing the volume of milk those farms sold to each milk processor in Orders 5 and 7 for 2001
  forward. (See id. at ¶ 31.) After several telephone conferences and written communications, Rust
  confirmed the administrators would not provide the requested information for two reasons. (See
  id.) First, the administrators are not authorized to release farmer-level data to Rust (and the
  authorizations provided by Dean and SMA were deemed inadequate to do so). (See id.) Second,
  the administrators do not maintain complete farmer-level data requested by Rust. (See id.)

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   and valid, and the claimants adequately responded to the audit, if requested to do so. (See id. at ¶

   37.) Rust recommends that these claims be deemed eligible to participate in the Dean and

   SMA/Baird settlements. (See id.) These claimants are listed in Exhibit E-1 of the Young

   Affidavit.

          In addition, Rust identified 281 claims received late, but which are otherwise complete

   and valid and the claimants adequately responded to the audit, if requested to do so. (See id. at ¶

   38.) Rust believes there would be no delay in the settlement administration due to accepting and

   processing these claims, and it is Rust’s ordinary practice to process such claims. (See id. at ¶

   40.) Rust recommends that these claims be permitted to participate in the Dean and SMA/Baird

   settlements. (See id.) These claimants are identified in Exhibit E-2 of the Young Affidavit.4

          Assuming the Court permits the timely and late claims described above, there will be a

   total of 6,165 claims identified by Rust as eligible for settlement payments. These claimants are

   listed in Exhibit E-3 of the Young Affidavit.

                          2. Ineligible claims for settlement payments

          Rust’s review, analysis and audit of claim forms also identified 1,198 claims that Rust

   determined to be ineligible for Dean and SMA/Baird settlement payments for various reasons.

   As explained in the Young Affidavit:        43 claim forms were missing information and the

   claimants never provided the information in response to Rust’s follow-up letters; 1,065 claims

   are deemed ineligible because they are duplicative, they are for members of the boards of

   directors of DFA or SMA, the farms claimed are not in Federal Milk Marketing Orders 5 or 7, or

   the claims were withdrawn; and 90 claims are deemed ineligible because the claimants failed to

   4
     If the Court permits the late but otherwise eligible claimants to participate in the settlements as
   requested, Rust will revise the list of 270 opt outs from the settlements (see fn. 1, supra) to
   remove any permitted late claimants because they will no longer be opt outs from the settlements
   (see Young Aff. at ¶ 40, n. 2).

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   respond to Rust’s audit requests. (See, e.g., id. at ¶ 38.) The claims determined to be ineligible

   are listed in Exhibits D-1 and D-2 to the Young Declaration.5 Rust recommends that these

   claims be disallowed. (See id. at ¶¶ 28, 35 and 38.)

                E. Rust’s Calculation of the Distribution of the Net Settlement Fund

            Rust estimates that the “Net Settlement Fund,” for purposes of the first settlement

   distribution,6 is $35,458,613.64. (Id. at ¶ 43.) Rust calculated the Net Settlement Fund by

   subtracting from Dean and SMA/Baird settlement proceeds held in escrow the following Court-

   approved payments: (1) attorneys’ out-of-pocket reimbursement of expenses in the amount of

   $7,408,920.39; (2) incentive awards of $10,000.00 to each of the 15 class representatives; (3)

   attorneys’ fees in the amount of $21,666,666.66;7 (4) payments totaling $4,000 to the Escrow

   Agent for fees; and (5) payment to Rust in the amount of $100,000.00 for prior settlement

   administration expenses and fees. (See 2/14/12 Order, Dkt. 1782; 7/11/12 Order Dkt. 1897.)

   Rust also subtracted an additional payment to Rust, in the amount of $212,634.63, for recent

   settlement administration expenses and fees requested herein.8

            Rust has calculated the payment to each claimant based on their pro rata share of the Net

   Settlement Fund.      This calculation assumes the Court approves Rust’s recommendation to

   exclude the ineligible claimants described above and identified in Exhibits D-1 and D-2, and


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      D-2 lists 684 (of the 1,198 claimants) whose claims are deemed ineligible only because the
   claimants submitted duplicates of the same claim. The claimants in D-2 will participate in the
   settlement payments, but they will be paid on only one claim. (See id. at ¶ 38.)
   6
       The Dean settlement funds will be paid in five installments. (See § I.A., infra.)
   7
      Rust calculated the attorneys’ fees for disbursement as one-third of the amount of the Dean
   Foods and SMA/Baird settlement funds to be distributed in the initial payment, consistent with
   the Court’s recognition that class counsel would seek fees over four years proportionally with
   Dean’s payments into the settlement fund. (See 7/11/12 Order at 9, n.5, Dkt. 1897.)
   8
     Rust will, of course, reverse or modify the subtraction of the requested fees and expenses to
   accord with the Court’s ruling.

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   permit the late but otherwise eligible claims identified in Exhibit E-2. Exhibit E-3 is a schedule

   of each claimant’s pro rata portion of the Net Settlement Fund. For privacy reasons, the

   claimants are identified by claim number only.

   II.    THE PROPOSED PLAN FOR DISTRIBUTION OF THE SETTLEMENT FUNDS
          IS FAIR, REASONABLE AND ADEQUATE

          The Court should approve Plaintiffs’ proposed distribution plan because it is “fair,

   reasonable and adequate.” Fed. R. Civ. P. 23(e); see also In re Packaged Ice Antitrust Litig.,

   2011 U.S. Dist. LEXIS 150427, at *1, *65 (E.D. Mich. Dec. 13, 2011) (“ʻApproval of a plan of

   allocation of a settlement fund in a class action is governed by the same standards of review

   applicable to approval of the settlement as a whole; the distribution plan must be fair, reasonable

   and adequate.’”) (quoting Meijer Inc. v 3M, 2006 U.S. Dist. LEXIS 56744, at *1, *8 (E.D. Pa.

   Aug. 14, 2006)).

              A. The Proposed Plan Is Fair, Reasonable and Adequate Because It Is Based on
                 Class Member Milk Production and Sales

          Plaintiffs’ proposed distribution plan is fair, reasonable and adequate because it will

   reimburse class members based on the type and extent of their injuries. See Packaged Ice, 2011

   U.S. Dist. LEXIS 150427, at *65 (“ʻCourts generally consider plans of allocation that reimburse

   class members based on the type and extent of their injuries to be reasonable’”) (quoting In re

   Aetna, Inc., 2001 U.S. Dist. LEXIS 68, at *1, *36 (E.D. Pa. Jan. 4, 2001)).

          Plaintiffs allege class members would have been paid more for their milk produced and

   sold in Orders 5 and 7 during the class period absent Defendants’ anticompetitive conduct. (See,

   e.g., 8/4/08 Complaint at ¶¶ 1-4, Dkt. 111.) The amount of price suppression sustained by each

   class member, therefore, is directly proportionate to the amount of the class member’s milk

   produced and sold in Orders 5 and 7. Thus, Plaintiffs’ proposal to distribute the settlement funds

   according to milk volume will reimburse class members based on the type and extent of their

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   injury, i.e., suppressed-price milk production and sales.

          Courts routinely approve distribution plans when, as here, they distribute settlement

   funds based on class member sales or purchases of the alleged fixed-price goods. See, e.g.,

   Packaged Ice, 2011 U.S. Dist. LEXIS 150427, at *66 (approving plan to distribute settlement

   funds based on class member purchases of fixed-price ice); In re Cardizem CD Antitrust Litig.,

   218 F.R.D. 508, 531 (S.D. Mich. 2003) (approving distribution plan based on class member

   purchases of fixed-price generic drugs); In re Brand Name Prescription Drugs Antitrust Litig.,

   1999 U.S. Dist. LEXIS 12936, at *1, *9 (N.D. Ill. Aug. 17, 1999) (approving plan to distribute

   settlement funds based on class member purchases of fixed-price prescriptions).

              B. The Proposed Distribution of the Settlement Funds on a Pro Rata Basis Is
                 Fundamentally Fair

          Plaintiffs’ proposal to distribute the settlement funds on a pro rata basis, i.e., based on

   each class member’s proportionate share of the damages based on milk volume, is fundamentally

   fair because it corresponds with each class member’s share of injury and damages. See, e.g.,

   Packaged Ice, 2011 U.S. Dist. LEXIS 150427, at *65 (explaining pro rata distribution is fair and

   reasonable because it distributes settlement funds in proportion to each class member’s share of

   injury and damages).

          As explained in § I.E., Rust calculated the settlement payment to each eligible class

   member based on each class member’s eligible milk volume as a percentage of the total milk

   volume of all eligible class members. This pro rata calculation is “fundamentally fair” because

   it distributes the settlement fund to eligible class members in direct proportion to their eligible

   sales of fixed-price milk. In re Airline Ticket Com’n Antitrust Litig., 953 F.Supp. 280, 284-85 (D.

   Minn. 1997) (approving pro rata distribution of settlement fund based on number of alleged

   fixed-price tickets as “cost-effective, simple and fundamentally fair”). Accordingly, courts have


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   endorsed this type of pro rata calculation as the “most appropriate” way to distribute settlement

   funds in antitrust price fixing cases. Brand Name Prescription Drugs, 1999 U.S. Dist. LEXIS

   12936 at *9; see also Packaged Ice, 2011 U.S. Dist. LEXIS 150427, at **64-65 (approving pro

   rata distribution based on each claimant’s percentage of total purchases); Thacker v. Chesapeake

   Appalachia, L.L.C., 695 F. Supp. 2d 521, 534 (E.D. Ky. 2010) (approving pro rata distribution

   based on “each class member’s percentage interest in the net settlement fund”).

          Plaintiffs’ proposal to treat all class members equally reinforces the fairness of the pro

   rata distribution. Plaintiffs’ proposal treats members of the DFA and Independent Farmer

   Subclasses the same: All subclass members who submitted valid claims will receive pro rata

   shares of the settlement funds in the proportion of their eligible milk sales. (See § I.E., supra.)

   This equal distribution to members of both subclasses is consistent with Dr. Gordon Rausser’s

   opinion that members of both subclasses were equally harmed (see 6/1/12 Order at 4-5, Dkt.

   1878) (reviewing Dr. Rausser’s opinion), and his opinion is a further basis for the equal

   allocation of settlement funds to the subclasses, see Cardizem CD, 218 F.R.D. at 531 (approving

   allocation of settlement funds consistent with expert damages calculation).9

              C. Rust’s Scrutiny and Supplemental Audit of the Claim Forms Ensures the
                 Proposed Distribution Will Be Fair and Equitable

                         1.   The sworn claim forms are sufficient proof of class member
                              claims

          The Court-approved claim form required class members submitting claims to sign and

   “certify under penalty of perjury” that their claims are “true and correct.” (See 2/14/12 Order at


   9
     The recommendation by counsel for the subclasses to equally allocate settlement funds to the
   subclasses further supports approval of Plaintiffs’ proposed plan. See, e.g., Maley v. Del Global
   Tech. Corp., 186 F. Supp. 2d 358, 367 (S.D.N.Y. 2002) (explaining allocation plan formulated
   by competent counsel familiar with subclass claims need only have a rational basis); In re Telik,
   Inc. Sec. Litig., 576 F. Supp. 2d 570, 580 (S.D.N.Y. 2008) (same).

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   ¶¶ 9 and Ex. A, Dkt. 1782.) The claim forms also informed class members that submission of

   false information may result in “civil and/or criminal penalties.” (Id.)

          The sworn claim forms constitute sufficient proof of class member milk production and

   sales for purpose of distributing the settlement funds. In fact, it is Rust’s ordinary practice to

   rely on sworn claim forms when administering class action claims. (See Young Aff. at ¶ 29).

   Rust’s practice is consistent with case law recognizing sworn claim forms can be sufficient proof

   of claims in class action settlements. See, e.g., Uhouse v. U.S. DOI, 2011 U.S. Dist. LEXIS

   145114, at *1, (D. Nev. Nov. 15, 2011) (approving distribution plan based on information in

   sworn claim forms); In re New Motor Vehicles Canadian Export Antitrust Litig., 2011 U.S. Dist.

   LEXIS 40843, at *1, *27, n.22 (D. Me. April 13, 2011) (explaining sworn claim forms is a

   reasonable requirement to assure truth and reliability of claims submitted); Barkman v. Wabash,

   Inc., 1992 U.S. Dist. LEXIS 10878, at *1, *15 (N.D. Ill. July 22, 1992) (ruling sworn claim

   forms are recognized “as true” absent contradictory evidence).

          Thus, Plaintiffs’ proposed distribution of the settlement funds based on information in the

   claim forms is fair, reasonable and adequate, especially when, as here, there is no evidence

   disproving the claimants’ sworn forms.

                          2.   Rust’s scrutiny of claim forms, follow ups with claimants, and
                               identification of claims to be excluded from (and included in) the
                               distribution further ensures it will be fair and equitable

          Rust’s extensive analysis and multiple rounds of follow ups with claimants identified

   claims that should be excluded (and included) in the distribution further ensures it will be fair,

   reasonable and adequate. As explained above, Rust reviewed every claim form received to

   confirm it was timely, complete, valid, submitted by class members and not duplicative other

   claims. (See Young Decl. at ¶ 19.) If Rust identified any claim forms that appeared to be

   incomplete, invalid or otherwise deficient, the form was flagged for follow-up by Rust. (See id.)
                                                    13

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   Rust then sent multiple rounds of follow-up letters requesting various information necessary to

   confirm the validity of the claim forms. (See id. at ¶¶ 20-28.)

          Rust’s efforts identified 1,198 claim forms that are not eligible to participate in the

   settlements. These claims are ineligible because they are duplicative, they are for members of

   the boards of directors of DFA or SMA, or the farms claimed are not located in Federal Milk

   Marketing Orders 5 or 7, or because the claimants failed to respond to Rust’s multiple requests

   for information needed to demonstrate the claimants’ eligibility. (See id. at ¶ 38.) The Court

   should approve Rust’s recommendation, and Plaintiffs’ request, to exclude these claims from

   participating in the settlements in order to assure the distribution is fair and equitable. See, e.g.,

   Beecher v. Able, 575 F.2d 1010, 1016 (2d Cir. 1978) (explaining district courts should exercise

   their “broad supervisory powers” over the administration of class action settlements to assure

   class action settlements are equitably distributed to class members).10

          In addition, Rust’s efforts identified 281 late but otherwise eligible claim forms. (See

   Young Aff. at ¶ 40.) Many of these claims missed the submission deadline by a few days, and

   were submitted late by third-parties retained by farmers to process claims on their behalf. (See

   id.) There would be no delay in the settlement administration due to accepting and processing

   these claim forms, and it is the standard practice of Rust to process such claims. (See id.) It is

   well within the Court’s broad equitable power to approve Rust’s recommendation, and Plaintiffs’

   request, to allow these claims to participate in the settlements when, as here, the dairy farmers

   are not at fault for many of the late claims and accepting them will not delay the distribution or

   meaningfully affect other claimants. See, e.g., In re Orthopedic Bone Screw Prods. Liability

   10
       For the same reason, the Court should approve Rust’s recommendation, and Plaintiffs’
   request, to reduce the amount of claimed milk by .569343 for claimants who never responded to
   Rust’s multiple requests for additional information about farms in the Virginia counties that did
   not became part of Federal Milk Marketing Order 5 until November 2005. (See id. at ¶ 38.)

                                                    14

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   Litig., 246 F.3d 315, 320 (3d Cir. 2001) (explaining Rule 23 gives district courts broad equitable

   power over class settlement administration, and reversing district court’s refusal to allow late

   claims that would not have meaningfully affected settlement administration); In re Gilat Satellite

   Networks, Ltd., 2009 U.S. Dist. LEXIS 25109, at *1, *19 (E.D.N.Y. Mar. 25, 2009) (permitting

   “untimely but otherwise authorized claims” to participate in settlement distribution).11

                          3.   Rust’s supplementary audit of claim forms confirms the proposed
                               distribution will be fair and equitable

          Even though sworn claim forms are adequate proof of claims, Rust conducted a

   supplementary audit of the amount of class-eligible milk stated in the claim forms which further

   confirms the proposed distribution will be fair and equitable. (See Young Decl. at ¶¶ 29-36.)

          Rust’s supplementary audit was a reasonable means to verify claims in this case to ensure

   the settlement distribution will be fair and equitable. See Fed. Judicial Center, Manual on

   Complex Litigation (4th) at § 21.661 (“Audit and review procedures will depend on the nature of

   the case.”)   Here, Rust selected 11% of the eligible claims for audit, consisting of every

   submission claiming more than 50,000,000/lbs., less than 100,000/lbs., and 3% of the other

   claims. (See id. at ¶ 32.) Rust compared the amount of class-eligible milk stated in the claim

   forms with actual milk production and sales records or written confirmation of the same provided

   to farmers by USDA market administrators or their cooperatives, which were the best available

   records.12 (See id. at ¶ 34.) Rust also made repeated follow-ups with claimants selected for audit

   to obtain adequate documentation. (See id. at ¶ 35.) Rust’s supplementary audit exceeds any

   standard for auditing settlement claims. See Manual on Complex Litigation at § 21.661

   11
      It is not inconsistent for the Court to permit late settlement claims while elsewhere enforcing
   the opt-out deadline because opt out deadlines, unlike claim deadlines, are necessary for the
   finality of settlements and judgments. See, e.g., Orthopedic Bone Screw Prods., 243 F.3d at 326.
   12
      As noted in § I.C.3., Dean, DFA, DMS and SMA did not provide data to Rust for its audit,
   and the USDA market administrators do not keep the farm-level data Rust requested.

                                                   15

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   (explaining modest claims are frequently accepted on basis of verified claim forms; medium

   claims may be checked by random sampling, telephone inquiries or records crosschecks; and

   large claims may warrant a field audit); Conte & Newberg, Newberg on Class Actions, at § 10:12

   (4th 2011) (explaining a statement or affidavit may be sufficient verification for small claims or

   claims that are not amendable to ready verification)

          Rust’s supplementary audit confirms the integrity of the claims administration process:

   The documentation provided by the randomly-selected claimants varied by less than 5% (up or

   down) from the class-eligible milk volume submitted in their claim forms, which is variance well

   within the acceptable range, based on Rust’s experience, and indicated no reason for Rust to

   conduct further audits. (See Young Aff. at ¶ 36.)

   III.   THE COURT SHOULD APPROVE AND AUTHORIZE PAYMENT OF THE
          CLAIMS ADMINISTRATOR’S FEES AND EXPENSES

          The Court should approve an additional payment to Rust, in the amount of $212,634.63,

   for its fees and expenses to date in administering the settlements and claims processes as

   explained in the Young Affidavit.

          The settlement agreements provide for the payment of Rust’s fees and expenses from the

   settlement funds. (See 7/14/11 Mot. for Prelim. Approval, Ex. A at ¶ 8.5, Dkt. 1603-1; 7/27/11

   Mot. for Prelim. Approv., Ex. A at ¶ 8.5, Dkt. 1678-1.) And, litigation expenses, including

   claims administration expenses, are routinely paid from settlement funds. See, e.g., In re F & M

   Distrib., Inc. Sec. Litig., 1999 U.S. Dist. LEXIS 11090, at *1, *20 (E.D. Mich. June 29, 1999)

   (“Expense awards are customary when litigants have created a common settlement fund for the

   benefit of a class”); Gilat Satellite Networks, 2009 U.S. Dist. LEXIS 25109 at *19 (authorizing

   $657,754 payment from settlement fund to claims administrator).




                                                   16

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          The additional amount of fees and expenses requested by Rust is reasonable given its

   extensive work in administering the settlements. As mentioned above, Rust processed, reviewed

   and analyzed 7,363 claims. (See Young Aff. at ¶ 17.) Rust prepared and sent 2,235 follow up

   letters to claimants. (See id. at ¶ 19.) Rust conducted full audits of hundreds of claims. (See id. at

   ¶¶ 29-35.) And, Rust fielded 4,821 telephone calls and 255 emails from claimants. (See id. at ¶

   52.) An invoice reflecting Rust’s specific charges is attached as Exhibit G to the Young

   Affidavit.

   IV.    CONCLUSION

          For the foregoing reasons, Plaintiffs respectfully request that the Court grant their motion

   and enter the proposed Order attached as Exhibit 1.



   Dated: December 21, 2012                              Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

           I certify that on the 21st day of December, 2012, a true and correct copy of Dairy Farmer
   Plaintiffs’ Motion for an Order Approving and Authorizing the Distribution of the Dean and
   SMA/Baird Settlement Funds and Application for Claims Administrator Fees and Expenses
   was served by operation of the electronic filing system of the U.S. District Court for the Eastern
   District of Tennessee upon all counsel who have consented to receive notice of filings in the
   matters styled In re Southeastern Milk Antitrust Litigation, MDL No. 1899.

                                                       /s/ Robert G. Abrams
                                                           Robert G. Abrams




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